      Case 20-14850-ABA                 Doc 80
                            Filed 05/07/20 Entered 05/07/20 09:24:06                              Desc Main
                           Document      Page 1 of 1
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
Denise Carlon Esquire
KML Law Group, P.C.
216 Haddon Avenue, Suite 406
Westmont, NJ 08108
Main Number: (609) 250-0700
dcarlon@kmllawgroup.com
Attorneys for CastleRock Realty Group




                                                                Case No: 20-14850 ABA

                                                                Chapter: 13

                                                                Judge: Andrew B. Altenburg Jr.
In Re:
Cornelius Stephens dba Merimades LLC dba Choice
Employment Servies LLC

                                       Debtor(s).

                                                    NOTICE OF APPEARANCE

                Please take notice that in accordance with Fed R. Bankr. P. 9010(b) the undersigned enters an
       appearance in this case on behalf of CastleRock Realty Group. Request is made that the documents filed
       in this case and identified below be served on the undersigned at this address:

       ADDRESS:

       216 Haddon Avenue, Ste. 406
       Westmont, NJ 08108

       DOCUMENTS:

        All notices entered pursuant to Fed. R. Bankr. P. 2002.
       All documents and pleadings of any nature.
                                                              /s/ Denise Carlon, Esquire
       Date: 05/07/2020                                       Denise Carlon, Esquire
                                                                KML Law Group, P.C.
                                                                216 Haddon Avenue, Ste. 406
                                                                Westmont, NJ 08108
                                                                201-549-2363
                                                                FAX: (609) 385-2214
                                                                Attorney for Creditor




                                                                                                      new 8/1/15
